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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

RYAN, LLC,                                      §
                                                §
        Plaintiff,                              §
v.                                              §   Civil Action No. 3:12-CV-0778-N
                                                §
RYAN & COMPANY, P.C.,                           §
                                                §
        Defendant.                              §


                              AGREED MOTION TO DISMISS

        Plaintiff files this Agreed Motion to Dismiss and for good cause show that Plaintiff and

Defendant have resolved all differences between them and have entered into a Settlement

Agreement. Pursuant to the terms of the Settlement Agreement, Plaintiff requests that the Court

dismiss all claims with prejudice with all fees, expenses, and costs to be borne by the party

incurring same.

                                                    Respectfully submitted,

                                                            /s/ Elizann Carroll
                                                    Molly Buck Richard
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                                                    Texas Bar No. 16842800
                                                    Elizann Carroll
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                                                    Counsel for Plaintiff Ryan, LLC




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                             CERTIFICATE OF CONFERENCE
         I hereby certify that pursuant to the settlement of this matter Defendant agrees to the
relief sought herein.
                                                       /s/ Elizann Carroll_____________


                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 22, 2013, I electronically filed the foregoing with the clerk of
the court by using the CM/ECF system, which will send a notice of electronic filing to counsel
who are authorized to receive electronically Notices of Electronic Filing.

                                                       /s/ Elizann Carroll_____________




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